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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
            Plaintiff,                            )
                                                  )
      vs.                                         )          Case No. 4:11CR127 JCH
                                                  )
CUEVAS BAN’E COST, JR.,                           )
                                                  )
            Defendants.                           )


                                                ORDER

       This matter is before the Court on Defendant Cost’s Motion to Suppress (Doc. No. 118).

Pursuant to 28 U.S.C. § 636(b), this matter was referred to United States Magistrate Judge Frederick

R. Buckles, who filed a Report and Recommendation on July 27, 2011 (ECF No. 201). Defendant

Cost filed objections to the Report and Recommendation (ECF No. 208).

       The Magistrate Judge recommends that defendant Cost’s Motion to Suppress be denied.

After de novo review of this matter, this Court adopts the Magistrate Judge’s recommendation.



Dated this 12th          day of August, 2011.



                                                  /s/Jean C. Hamilton
                                                  UNITED STATES DISTRICT JUDGE
